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3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone (916) 498-5700
5
6    Attorney for Defendant
     HENRY MARQUEZ
7
8
                         IN THE UNITED STATES DISTRICT COURT
9
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12
13   UNITED STATES OF AMERICA,       )       No. Cr.S. 06-0441-GEB
                                     )
14                 Plaintiff,        )       STIPULATION AND [PROPOSED] ORDER
                                     )       CONTINUING CASE AND EXCLUDING
15       v.                          )       TIME
                                     )
16   EFRAIN MEDINA, et al.,          )       Date: May 18, 2007
                                     )       Time: 9:00 a.m.
17                 Defendant.        )       Judge: Hon. Garland E. Burrell, Jr.
                                     )
18   _______________________________ )
19
             IT IS HEREBY STIPULATED by and between Assistant United States
20
     Attorney PHILLIP TALBERT, counsel for Plaintiff, and Supervising Assistant
21
     Federal Defender, DENNIS S. WAKS, counsel for Defendant HENRY MARQUEZ, DWIGHT
22
     M. SAMUEL, attorney for EFRAIN MEDINA, PETER KMETO, attorney for ARTHUR
23
     GOMES, MICHAEL D. LONG, attorney for JAVIER MUNOZ, HAYES H. GABLE, III,
24
     attorney for ANDRES MAYORGA and ADAM D. FEIN, attorney for DONALD HAYLES,
25
     that the status conference scheduled for April 6, 2007, be continued to May
26
27   18, 2007, for a status conference.    This continuance is being requested

28   because counsel needs additional time to prepare, to review discovery and to
              Case 2:06-cr-00441-DAD Document 78 Filed 04/04/07 Page 2 of 3


1    interview witnesses.      This case arises from a long term Title III

2    investigation involving eight court-authorized wire interception orders.      The

3    parties anticipate that discovery could include over one thousand pages of

4    documents and hundreds of intercepted and recorded telephone calls.

5          IT IS FURTHER STIPULATED that time for trial under the Speedy Trial Act

6    be excluded from April 6, 2007, through and including May 18, 2007, pursuant
7    to 18 U.S.C. § 3161(h)(8)(B)(ii)      and Local Code T-2, based on the complexity
8    of this case, and 18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T-4, based on
9    the need for defense counsel to review discovery and adequately prepare, and
10   based on a finding by the Court that the ends of justice served by granting a
11   continuance outweigh the best interest of the public and defendant in a
12   speedy trial.    This case has already been found to be complex by Magistrate
13   Judge Kimberley J. Mueller.
14
15             IT IS SO STIPULATED.
16
     Dated:    April 3, 2007                   DANIEL J. BRODERICK
17                                             Federal Defender

18
                                               /S/ Dennis S. Waks
19                                             DENNIS S. WAKS
                                               Supervising Assistant Federal Defender
20                                             Attorney for Defendant
                                               HENRY MARQUEZ
21
     Dated:    April 3, 2007
22                                             /s/ Dennis S. Waks for

23                                             DWIGHT M. SAMUEL
                                               Attorney for EFRAIN MEDINA
24
25   Dated:    April 3, 2007
                                               /s/ Dennis S. Waks for
26
                                               PETER KMETO
27                                             Attorney for ARTHUR GOMES
     Dated:    April 3, 2007
28
                                               /s/ Dennis S. Waks for

     Stipulation and Order                     2
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1
                                               MICHAEL D. LONG
2                                              Attorney for JAVIER MUNOZ
     Dated:    April 3, 2007
3
                                               /s/ Dennis S. Waks for
4
                                               HAYES H. GABLE, III
5                                              Attorney for ANDRES MAYORGA

6    Dated:    April 3, 2007
                                               /s/ Adam D. Fein
7
                                               ADAM D. FEIN
8                                              Attorney for DONALD HAYLES
9
                                               McGREGOR W. SCOTT
10                                             United States Attorney
11
     Dated:    April 3, 2007                   /S/ DENNIS S. WAKS for Phillip Talbert
12                                             PHILLIP TALBERT
                                               Assistant United States Attorney
13                                             Counsel for Plaintiff
14
15                                         O R D E R
16
                IT IS SO ORDERED.
17
     Dated:    April 4, 2007
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                                         GARLAND E. BURRELL, JR.
20                                       United States District Judge
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     Stipulation and Order                     3
